            Case 14-35622-RAM   Doc 101    Filed 01/31/20      Page 1 of 1




                                        Certificate Number: 03621-FLS-DE-033557008
                                        Bankruptcy Case Number: 14-35622


                                                       03621-FLS-DE-033557008




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on October 15, 2019, at 4:07 o'clock PM EDT, Clyde Ray
completed a course on personal financial management given by internet by Credit
Card Management Services, Inc. d/b/a Debthelper.com, a provider approved
pursuant to 11 U.S.C. 111 to provide an instructional course concerning personal
financial management in the Southern District of Florida.




Date:   October 15, 2019                By:      /s/Frances Palenzuela


                                        Name: Frances Palenzuela


                                        Title:   Credit Counselor
